| Case 4:09-cv-05796-CW Document 67 Filed 10/19/11 Page 1 of 2

“Tedd Ashker C5810)
Dannylroxel\,B70579
Prox 7500/DI-SHU
Crescent City,Ca. 95432
Plaintiffs . yo-se 4

 

Uren States District Cour
Te Normern District OF CANFORNIA

ToppAsHkeRand)ANNY TROXELL, | Case No,C09-5796 CW

| Plaintiffs, Naini Nsice + Matron
For Leave \o Ke A

acu been etal. Second Amended -

 

To Defendants and Sheircounsel ofoord Rease ave Notce:

Fho-se Plaintiffs Ashke and \Woxell doher ey respectTully request the
Honorable Courts Leaveto file a second amended company, , eusuart to
Rule \5 (a)(2), Fea RCP, i arderte addvand lor clarify, a \hesly iat
clamand anequal ptachon claim, [See attached Roposed Second Amended
Comolaint at pp 82,caas* 209-210; 92, paral aHy: and* 95, para¥o51 (4) and(s) |

TVhis request For Leave is nat boeing made Ter any sorl oF impper purpose these
additions aw rdatidite the causes of adfion in Wel At land the allowanae of

 

<1)

j

Deondarts, Comolairit [pec ROM cal]

She Nbing of tne [8.A-0.].aill nat p@judice Defendants Thus;the Court should, |

 

(
Case 4:09-cv-05796-CW Document 67 Filed 10/19/11 Page 2 of 2

yar He requeat | gee: Foman v. Davis, 341 U.S.148, 82-83, 335.cr 227 (1962),

accord, Lnileroyal Coro. wv. Seansalles, 389 F'2d.108, WZ [UthCir, 1490)

TaintiFs’ would also clarity that thar ineluded pare le boat claims are
pesenied inadalin batethe (EAC) and proposed 6.a.¢,); please acethe
(8, Ac) at gaa? 4-4) HI-VGI, V5 -AN and 230-263,

And such. parole board, claims include causes cFadtion For First, Aah,
Signth , and Fourteenth Amendment U.S, Conshhilieral violations
[See Td. pas *195- 2i1,and 230-263]

Troraert assist the Courlé sae eernreg Process Fei proposed GAC)
additions Woerly wHeZs! in NST being cmeEed into lpeing avnown
informartl; and equal oréiedlion issues), please see Plawilitts’ Motion To
Cored and aLanfy An Omission In Their FAC.” [ Dec¥22 stp: 2-€,and
eases cited ah pits -@]

 

GONALLLSIOA/
Goad eamge being demonstrated based ontus mation Bocompanying
declarations of plaintiffs, andthe le and record of this case, plait fs’ do
herby especttully quest the toroble Qourtts Grant this malin and
Order the GAC) re Filed and answeled loy Aeferdarits.

TTaddcAchle, 2. Saw nodet
Todd Achker | anny Wexell

 

 

<25

 

 
